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Case 2:99-Cr-20079-BBD Document 411 Filed 08/17/05 Page 1 of 2 Page|D 287

FILED BY ,_ D.O.
IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT 0F TENNESSEE 95 AUG 1 7 AH m, 23

WESTERN DIvIsIoN
UNITED sTATEs oF AMERICA, * CUEH<, U.S. y“m OOURT
W/D 05 1111~:5111”?1113
Plaintiff, *
v. * CR. No. 2:99cr20079-D
FRED JETER, JR., *
Defendant. *

 

ORDER GRANTING MOTION TO CONTINUE SUPERVISED RELEASE HEARING

 

Before this court is defendant’s motion to continue supervised release hearing, filed
August 16, 2005. For good cause shown and with agreement from the government, the motion is

GRANTED. It will be reset by separate notice of the Court.

It is SO ORDERED this /@ day of August 2005.

 

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This notice confirms a copy of the document docketed as number 411 in
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Honorable Bernice Donald
US DISTRICT COURT

